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                           UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF FLORIDA
                              FORT LAUDERDALE DIVISION

                                                                     CASE NO.: 16-11496-BKC-JKO
                                                                  PROCEEDING UNDER CHAPTER 13

IN RE:

CONSTANCE MARIE FREUND
XXX-XX-2421

_____________________________/
DEBTOR

                                  REPORT OF NON COMPLIANCE

   COMES NOW the Trustee, Robin R. Weiner, Esquire, and reports to the Court as follows:

   1. Pursuant to Administrative Order 98-6, a Notice of Delinquency was served on December 20, 2018,
      as a result of the Debtor's failure to remain current under the confirmed plan.

   2. The Debtor has not become current.

   3. Accordingly, the Trustee reports that this case should be dismissed with prejudice to the Debtor
      filing any bankruptcy proceeding for a period of 180 days from entry of the order of dismissal.

   WHEREFORE, the Trustee reports these facts to the Court for appropriate action.
   RESPECTFULLY SUBMITTED this 7th day of February, 2019.

    I HEREBY CERTIFY that I am admitted to the Bar of the United States District Court for the
Southern District of Florida and I am in compliance with the additional qualifications to practice in this
court as set forth in Local Rule 2090-1(A) and that a true and correct copy of this Report Of Non
Compliance was served, via U.S. first class mail, certified mail and/or CM/ECF, upon the parties listed on
the attached service list this 7th day of February, 2019.


                                                                /s/ Robin R. Weiner
                                                            _____________________________________
                                                                ROBIN R. WEINER, ESQUIRE
                                                                STANDING CHAPTER 13 TRUSTEE
                                                                P.O. BOX 559007
                                                                FORT LAUDERDALE, FL 33355-9007
                                                                TELEPHONE: 954-382-2001
                                                                FLORIDA BAR NO.: 861154
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                                                                 REPORT OF NON COMPLIANCE
                                                                  CASE NO.: 16-11496-BKC-JKO

                                   SERVICE LIST

COPIES FURNISHED TO:

DEBTOR
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